               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                     CRIMINAL CASE NO. 2:11cr22-11


UNITED STATES OF AMERICA,                )
                                         )
                                         )
                  vs.                    )      ORDER
                                         )
                                         )
LARRY MICHAEL WATKINS.                   )
                                         )


       THIS MATTER is before the Court on the Government’s Motion for

Preliminary Order of Forfeiture [Doc. 262], filed June 11, 2012.

I.     PROCEDURAL BACKGROUND

       On September 20, 2011, the Defendant was charged, along with ten co-

defendants, with one count of conspiracy to possess with intent to distribute

a quantity of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and

846. [Doc. 74]. The Bill of Indictment includes a Notice of Forfeiture and

Finding of Probable Cause by the grand jury, providing that the Government

intended to seek forfeiture of all property used to or intended to be used to

facilitate the charged violation, all proceeds thereof, and any substitute

property, including $3,856.00 in United States Currency and real property




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located at 140 Sherrill Road, Bryson City, North Carolina (“Sherrill Road

property”). [Id. at 2-3].

      On December 12, 2011, the parties filed a Plea Agreement in which the

Defendant agreed to enter a voluntary plea of guilty and to forfeit his interest

in the property referenced in the Bill of Indictment. [Doc. 146 at 1, 3]. The

Defendant specifically stipulated that he “has or had a possessory interest or

other legal interest in each item or property” listed in the Bill of Indictment. [Id.

at 3]. The Court accepted the Defendant’s guilty plea on January 10, 2012.

[Doc. 165].

      On March 9, 2012, the Government moved for the entry of a Preliminary

Order of Forfeiture, citing the allegations of the Bill of Indictment, the

stipulations set forth in the Plea Agreement, and the Defendant’s plea of guilty

and consent to the proposed forfeiture. [Doc. 214]. On April 17, 2012, the

Court denied the Government’s Motion without prejudice, concluding that “the

Defendant’s consent alone does not establish the requisite nexus” between

the property to be seized and the offense of conviction. [Doc. 220 at 3]. The

Government now renews its Motion for a Preliminary Order of Forfeiture.

[Doc. 262].




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II.     ANALYSIS

        At the outset, the Government asks the Court to reconsider its prior

ruling, arguing that “the admission by a defendant in a written plea agreement

is normally sufficient proof of the [required] nexus.” [Doc. 262 at 2]. In

support of this argument, the Government cites United States v. Newman, 659

F.3d 1235 (9th Cir. 2011), cert. denied, 132 S.Ct. 1817 (2012), in which the

Ninth Circuit stated that in finding the requisite nexus

             [t]he district court may rely on factual statements in
             the plea agreement. See Fed. R. Crim. P.
             32.2(b)(1)(B) (“The court's determination may be
             based on evidence already in the record, including
             any written plea agreement....”). In most cases, an
             admission by the defendant suffices to prove the
             factual basis for criminal forfeiture. See Libretti [v.
             United States, 516 U.S. 29, 43, 116 S.Ct. 356, 133
             L.Ed.2d 271 (1995)] (“[W]e need not determine the
             precise scope of a district court's independent
             obligation, if any, to inquire into the propriety of a
             stipulated asset forfeiture embodied in a plea
             agreement.”). Because the parties stipulated to an
             amount of forfeiture and agreed to its payment, the
             government did not have an independent obligation to
             offer detailed proof of that stipulated fact.

Id. at 1244-45 (emphasis added). The Ninth Circuit cautioned, however:

             But the existence of a stipulated amount of forfeiture
             does not necessarily suffice. The Supreme Court has
             expressly recognized the potential for abuse in
             situations like these: “We do not mean to suggest that
             a district court must simply accept a defendant's

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            agreement to forfeit property, particularly when that
            agreement is not accompanied by a stipulation of
            facts supporting forfeiture, or when the trial judge for
            other reasons finds the agreement problematic.”
            [Libretti, 516 U.S. at 43, 116 S.Ct. 356]. The district
            court has an independent duty to “determine the
            amount of money that the defendant will be ordered
            to pay.” Fed. R. Crim. P. 32.2(b)(1)(A). “The court's
            determination may be based on evidence already in
            the record, including any written plea agreement, and
            on any additional evidence or information submitted
            by the parties and accepted by the court as relevant
            and reliable.” Rule 32.2(b)(1)(B). If the court has
            good reason to believe that the proposed forfeiture
            order exceeds the amount authorized by statute
            (here, “proceeds”), then the court, in its discretion,
            may inquire into the factual basis for the proceeds.

Id. at 1245 (emphasis added).

      Here, the Defendant’s stipulations as set forth in the Plea Agreement,

standing alone, are not sufficient to constitute a factual basis supporting

criminal forfeiture.   In his Plea Agreement, the Defendant agrees to the

forfeiture of “each and every asset listed in the Bill of Indictment” and further

stipulates that he “has or had a possessory interest or other legal interest in

each item or property.” [Doc. 146 at 3]. The Plea Agreement does not

address the Defendant’s ownership interest, if any, in the Sherrill Road

property specifically.   This type of generic stipulation is not sufficient to

establish a factual basis for the proposed forfeiture of this specific property



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pursuant to 21 U.S.C. § 853. This is particularly true in cases such as the

present one where the government has obtained an indictment against

multiple defendants and listed many items of property as being subject to

forfeiture without regard to which defendant allegedly owns what property.

The statement in the Plea Agreement that Defendant Watkins “has or had a

possessory interest or other legal interest in the property” listed in the Bill of

Indictment implies that all the listed property belongs to this Defendant. This

is belied, however, by the Government’s statements to the Court that different

listed properties belong to different defendants. As such, the Defendant

statement in his Plea Agreement is of no value whatsoever in establishing a

factual basis for anything.       It has been rendered to be no more than a

meaningless, self-serving statement that the Government requested the

Defendant to sign as a part of his plea.

      Even if the Defendant were the only defendant named in the Indictment,

the Plea Agreement at best establishes that the Defendant “has or had a

possessory interest or other legal interest” in the Sherrill Road property. [Doc.

146 at 3].1 In order to establish its entitlement to forfeiture of the Sherrill Road


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        While the Defendant’s ownership of the property is a matter that could have
been established easily by reference to the public record, the Government offers no
other evidence regarding the Defendant’s interest in the subject property. The only
other indication in the record regarding the nature of the Defendant’s interest in the

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property, however, the Government must establish: (1) that the property

“constitut[es], or [is] derived from, any proceeds the person obtained, directly

or indirectly, as the result of such violation,” 21 U.S.C. § 853(a)(1); (2) that the

property constitutes “any of the person's property used, or intended to be

used, in any manner or part, to commit, or to facilitate the commission of, such

violation,” 21 U.S.C. § 853(a)(2); or (3) that the property qualifies as

“substitute property” under 21 U.S.C. § 853(p).                  Nothing in the Plea

Agreement establishes an adequate factual basis for the Court to make any

of these findings in this case.

        In renewing its Motion for Preliminary Order of Forfeiture, the

Government submits the Affidavit of Dan Guzzo, a Special Agent with the

Drug Enforcement Administration. [Doc. 262-1]. Special Agent Guzzo states

that law enforcement officers conducted controlled buys of crystal

methamphetamine at 140 Sherrill Road on March 23, 2011 and March 28,

2011,    and    that    on   both     occasions,     the    Defendant      sold    crystal

methamphetamine to a person working for law enforcement. [Id.]. Special

Agent Guzzo further states that a search conducted of the residence at 140



Sherrill Road property is a statement in the Affidavit of Special Agent Dan Guzzo that
the Defendant is “the titled owner” of the property [Doc. 262-1]. The Affidavit fails to
indicate, however, any basis for this naked assertion.

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Sherrill Road on July 2, 2011 resulted in the seizure of approximately 103.4

grams of crystal methamphetamine. [Id.]. Special Agent Guzzo’s Affidavit

provides a sufficient factual basis for the Court to find that the Sherrill Road

property was “used, or intended to be used, in any manner or part, to commit,

or to facilitate the commission of, such violation” within the meaning of 21

U.S.C. § 853(a)(2).      Because, however, the Government has failed to

establish that the Sherrill Road property was the Defendant’s property, see 21

U.S.C. § 853(a)(2) (“any of the person's property”) (emphasis added), the

Government’s Motion for Preliminary Order of Forfeiture is denied without

prejudice.

III.     CONCLUSION

         IT IS, THEREFORE, ORDERED that the Government’s Motion for

Preliminary Order of Forfeiture [Doc. 262] is DENIED WITHOUT PREJUDICE.

         IT IS SO ORDERED.

                                           Signed: July 2, 2012




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